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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        NO. CR.S-08-00145- KJM
12                      Plaintiff,
13           v.                                       ORDER TO SHOW CAUSE
14   JACQUELINE CRAFT, et al.,
15                      Defendants.
16

17                  A hearing on a petition alleging Khalilah Latoya Fuller’s violation of terms of

18   supervised release was calendared before this court for July 2, 2014. Defense counsel Kathryn

19   Druliner failed to appear. On that date, Assistant Federal Defender Linda Harter voluntarily

20   located Ms. Druliner by phone, and based on the report that Ms. Druliner has miscalendared the

21   matter, the hearing was continued one week with the understanding Ms. Druliner would be

22   present. On July 9, when the matter was recalled, Ms. Druliner again failed to appear. On this

23   second date, Ms. Harter voluntarily made a special appearance, with Ms. Fuller’s permission.

24   The court continued the matter one more time, to July 23, 2014 at 9 a.m.

25                  Ms. Druliner is ordered to show cause no later than 4 p.m. on July 16, 2014, why

26   she should not be sanctioned, monetarily or otherwise, for her failure twice to appear, as

27   described above.

28   /////
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 1                 The Clerk of the Court is directed to serve a courtesy copy of this order on Federal
 2   Defender Heather Williams and Assistant Federal Defender Linda Harter.
 3                 SO ORDERED.
 4   DATED: July 9, 2014.
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 6                                             UNITED STATES DISTRICT JUDGE
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